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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION



UNITED STATES OF AMERICA,

              Plaintiff,                         Case No. 05-80031

v.                                               District Judge John Corbett O’Meara
                                                 Magistrate Judge R. Steven Whalen
MARIO TAYLOR,

              Defendant.

______________________________________/


                 ORDER GRANTING MOTION FOR DISCOVERY

       Before the Court is Defendant Mario Taylor’s Motion for Discovery as to

Aggravating Sentencing Factors [Docket #102]. At oral argument of August 17, 2005,

the government did not substantively contest the motion, but there was a question as to

whether the death penalty would actually be sought, and hence whether the motion was

moot. Nevertheless, the status of the case not having changed at this point,

       IT IS ORDERED that Defendant’s Motion for Discovery as to Aggravating

Sentencing Factors [Docket #102] is GRANTED.


                                          S/R. Steven Whalen
                                          R. STEVEN WHALEN
                                          UNITED STATES MAGISTRATE JUDGE

Dated: October 28, 2005

                              CERTIFICATE OF SERVICE
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The undersigned certifies that a copy of the foregoing order was served on the attorneys
and/or parties of record by electronic means or U.S. Mail on October 28, 2005.


                                         S/Gina Wilson
                                         Judicial Assistant
